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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                  SEATTLE DIVISION

Diedra Fugate                                            Case No.:
29505 21st Ave S, Apt A3
Federal Way, WA 98003                                    Judge:

         Plaintiff,                                        COMPLAINT FOR DAMAGES
                                                             UNDER THE FAIR DEBT
v.                                                       COLLECTION PRACTICES ACT AND
                                                            OTHER EQUITABLE RELIEF
Vandenberg, Chase and Associates, LLC
c/o Incorp Services, Inc, Registered Agent
300 Deschutes Way SW, #304                               JURY DEMAND ENDORSED HEREIN
Tumwater, WA 98501

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around May 22, 2009, Plaintiff retained an attorney to file for bankruptcy.

8. On or around December 9, 2009, Defendant telephoned Plaintiff and left a voice message.




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9. During this communication, Defendant falsely represented that there was a lawsuit filed

   against Plaintiff.

10. During this communication, Defendant falsely represented that Defendant was pursuing

   potential fraud charges against Plaintiff.

11. During this communication, Defendant threatened to recommend immediate legal action

   against Plaintiff unless Plaintiff returned Defendant’s call that day.

12. On or around December 9, 2009, Plaintiff telephoned Defendant in response to the above-

   referenced voice message.

13. During this communication, Plaintiff notified Defendant that Plaintiff was represented by a

   bankruptcy attorney and attempted to provide Plaintiff’s attorney’s contact information.

14. During this communication, Defendant falsely represented that bankruptcy would not resolve

   Plaintiff’s liability to pay the debt.

15. During this communication, Defendant threatened to pursue Plaintiff for fraud if the debt was

   not paid.

16. On or around December 10, 2009, Defendant telephoned Plaintiff and left a voice message.

17. During this communication, Defendant falsely represented that there was a lawsuit filed

   against Plaintiff.

18. During this communication, Defendant threatened to contact Plaintiff’s employer.

19. During this communication, Defendant called Plaintiff a liar.

20. At the time of these communications, Defendant had neither the intent nor ability to sue

   Plaintiff.

21. At the time of these communications, Defendant had neither the intent nor ability to file fraud

   charges against Plaintiff.




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22. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

23. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

24. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

25. Defendant violated 15 U.S.C. §1692d in that Defendant used obscene and/or abusive

   language during its communications in connection with the collection of the debt.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

26. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

27. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

   and/or legal status of the debt.

                                         COUNT THREE

                         Violation of the Fair Debt Collection Practices Act

28. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

29. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

   taken and/or that was not intended to be taken.

                                          COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

30. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

31. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

   communications with Plaintiff.




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                                           COUNT FIVE

                       Violation of the Fair Debt Collection Practices Act

32. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

33. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

34. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

35. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

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